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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                               )
    In re:                                                     )    Chapter 11
                                                               )
    GENON ENERGY, INC., et al.,1                               )    Case No. 17-33695 (DRJ)
                                                               )
                                       Debtors.                )    (Jointly Administered)
                                                               )

                 SUMMARY COVER SHEET TO THE SECOND INTERIM FEE
               APPLICATION OF KIRKLAND & ELLIS LLP AND KIRKLAND &
             ELLIS INTERNATIONAL LLP, ATTORNEYS FOR THE DEBTORS AND
              DEBTORS IN POSSESSION, FOR THE PERIOD FROM OCTOBER 1,
                    2017, THROUGH AND INCLUDING DECEMBER 12, 2017


        In accordance with the Local Bankruptcy Rules for the Southern District of Texas
(the “Local Bankruptcy Rules”), Kirkland & Ellis LLP and Kirkland & Ellis International LLP
(collectively, “K&E”), attorneys for the above-captioned debtors and debtors in possession
(collectively, the “Debtors”), submits this summary (this “Summary”) of fees and expenses sought
as actual, reasonable, and necessary in the fee application to which this Summary is attached


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: GenOn Energy, Inc. (5566); GenOn Americas Generation, LLC (0520); GenOn Americas
      Procurement, Inc. (8980); GenOn Asset Management, LLC (1966); GenOn Capital Inc. (0053); GenOn Energy
      Holdings, Inc. (8156); GenOn Energy Management, LLC (1163); GenOn Energy Services, LLC (8220); GenOn
      Fund 2001 LLC (0936); GenOn Mid-Atlantic Development, LLC (9458); GenOn Power Operating Services
      MidWest, Inc. (3718); GenOn Special Procurement, Inc. (8316); Hudson Valley Gas Corporation (3279); Mirant
      Asia-Pacific Ventures, LLC (1770); Mirant Intellectual Asset Management and Marketing, LLC (3248); Mirant
      International Investments, Inc. (1577); Mirant New York Services, LLC (N/A); Mirant Power Purchase, LLC
      (8747); Mirant Wrightsville Investments, Inc. (5073); Mirant Wrightsville Management, Inc. (5102); MNA
      Finance Corp. (8481); NRG Americas, Inc. (2323); NRG Bowline LLC (9347); NRG California North LLC
      (9965); NRG California South GP LLC (6730); NRG California South LP (7014); NRG Canal LLC (5569); NRG
      Delta LLC (1669); NRG Florida GP, LLC (6639); NRG Florida LP (1711); NRG Lovett Development I LLC
      (6327); NRG Lovett LLC (9345); NRG New York LLC (0144); NRG North America LLC (4609); NRG
      Northeast Generation, Inc. (9817); NRG Northeast Holdings, Inc. (9148); NRG Potrero LLC (1671); NRG Power
      Generation Assets LLC (6390); NRG Power Generation LLC (6207); NRG Power Midwest GP LLC (6833);
      NRG Power Midwest LP (1498); NRG Sabine (Delaware), Inc. (7701); NRG Sabine (Texas), Inc. (5452); NRG
      San Gabriel Power Generation LLC (0370); NRG Tank Farm LLC (5302); NRG Wholesale Generation GP LLC
      (6495); NRG Wholesale Generation LP (3947); NRG Willow Pass LLC (1987); Orion Power New York GP, Inc.
      (4975); Orion Power New York LP, LLC (4976); Orion Power New York, L.P. (9521); RRI Energy Broadband,
      Inc. (5569); RRI Energy Channelview (Delaware) LLC (9717); RRI Energy Channelview (Texas) LLC (5622);
      RRI Energy Channelview LP (5623); RRI Energy Communications, Inc. (6444); RRI Energy Services
      Channelview LLC (5620); RRI Energy Services Desert Basin, LLC (5991); RRI Energy Services, LLC (3055);
      RRI Energy Solutions East, LLC (1978); RRI Energy Trading Exchange, Inc. (2320); and RRI Energy Ventures,
      Inc. (7091). The Debtors’ service address is: 804 Carnegie Center, Princeton, New Jersey 08540.
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(this “Fee Application”)2 for the period from October 1, 2017, through December 12, 2017
(the “Fee Period”).

       K&E submits the Fee Application as its second interim fee application in accordance with
the Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses for
Professionals [Docket No. 228] (the “Interim Compensation Order”) and the Third Amended Joint
Chapter 11 Plan of Reorganization of Genon Energy, Inc. and Its Debtor Affiliates, dated as of
December 12, 2017, which plan was confirmed on December 12, 2017 [Docket No. 1250].

                                                             Kirkland & Ellis LLP and Kirkland
    Name of Applicant
                                                             & Ellis International LLP

                                                             Counsel to the Debtors and Debtors in
    Applicant’s professional role in case
                                                             Possession

    Indicate whether this is an application for
                                                             Pre confirmation services
    pre or post confirmation services

    Effective date of order approving
                                                             June 14, 2017
    professional’s retention

                                 Beginning of Period         Ending of Period

    Time period covered
                                 October 1, 2017             December 12, 2017
    in application

    Time periods covered
    by any prior                 June 14, 2017               September 30, 2017
    applications

    Total amounts awarded in all prior applications $0.00

    Total fees requested in this application                 $9,586,069.50

    Total professional fees requested in this
                                                             $9,282,863.50
    application

    Total actual professional hours covered by
                                                             10,350.00
    this application

    Average hourly rate for professionals                    $896.90




2
    Capitalized terms used but not otherwise defined in this Summary shall have the meanings ascribed to such terms
    in the Fee Application.



                                                        2
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                                                             Kirkland & Ellis LLP and Kirkland
    Name of Applicant
                                                             & Ellis International LLP

    Total paraprofessional fees requested in this
                                                             $303,206.00
    application

    Total actual paraprofessional hours covered
                                                             1,025.20
    by this application

    Average hourly rate for paraprofessionals                $295.75

    Reimbursable expenses sought in this
                                                             $282,523.13
    application

                                                             Article III of the Debtors’ Third Amended
                                                             Joint Chapter 11 Plan of Reorganization
                                                             of GenOn Energy, Inc. and Its Debtor
    Total to be paid to priority unsecured
                                                             Affiliates, dated December 10, 2017
    creditors under the Plan
                                                             [Docket No. 1213] (the “Plan”)3 sets forth
                                                             the proposed treatment for priority
                                                             unsecured claims.

                                                             Article III of the Plan sets forth the
    Percentage dividend to priority unsecured
                                                             proposed treatment for priority unsecured
    creditors under the Plan
                                                             claims.

    Total to be paid to unsecured creditors under            Article III of the Plan sets forth the
    the Plan                                                 proposed treatment for unsecured claims.

    Percentage dividend to unsecured creditors               Article III of the Plan sets forth the
    under the Plan                                           proposed treatment for unsecured claims.

    Date of confirmation hearing                             December 12, 2017

                                                             Yes, the Plan was confirmed on
    Indicate whether plan has been confirmed
                                                             December 12, 2017 [Docket No. 1250].




3
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Plan.



                                                        3
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Dated: January 5, 2018   /s/ David R. Seligman, P.C.
Houston, Texas           James H.M. Sprayregen, P.C. (admitted pro hac vice)
                         David R. Seligman, P.C. (admitted pro hac vice)
                         Steven N. Serajeddini (admitted pro hac vice)
                         W. Benjamin Winger (admitted pro hac vice)
                         KIRKLAND & ELLIS LLP
                         KIRKLAND & ELLIS INTERNATIONAL LLP
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                                        david.seligman@kirkland.com
                                        steven.serajeddini@kirkland.com
                                        benjamin.winger@kirkland.com
                         -and-
                         AnnElyse Scarlett Gibbons (admitted pro hac vice)
                         KIRKLAND & ELLIS LLP
                         KIRKLAND & ELLIS INTERNATIONAL LLP
                         601 Lexington Avenue
                         New York, New York 10022
                         Telephone:    (212) 446-4800
                         Facsimile:    (212) 446-4900
                         Email:        annelyse.gibbons@kirkland.com

                         Co-Counsel to the Debtors and Debtors in Possession




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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                               )
    In re:                                                     )    Chapter 11
                                                               )
    GENON ENERGY, INC., et al.,1                               )    Case No. 17-33695 (DRJ)
                                                               )
                                       Debtors.                )    (Jointly Administered)
                                                               )

               A HEARING WILL BE CONDUCTED ON THIS MATTER ON JANUARY 29, 2018,
                    AT 9:00 A.M. (CT) BEFORE THE HONORABLE DAVID R. JONES,
                    515 RUSK STREET, COURTROOM 400, HOUSTON, TEXAS 77002.

             IF YOU OBJECT TO THE RELIEF REQUESTED, YOU MUST RESPOND IN WRITING,
               SPECIFICALLY ANSWERING EACH PARAGRAPH OF THIS PLEADING. UNLESS
                OTHERWISE DIRECTED BY THE COURT, YOU MUST FILE YOUR RESPONSE
              WITH THE CLERK OF THE BANKRUPTCY COURT WITHIN TWENTY-ONE DAYS
             FROM THE DATE YOU WERE SERVED WITH THIS PLEADING. YOU MUST SERVE
               A COPY OF YOUR RESPONSE ON THE PERSON WHO SENT YOU THE NOTICE;
                OTHERWISE, THE COURT MAY TREAT THE PLEADING AS UNOPPOSED AND
                                 GRANT THE RELIEF REQUESTED.

                  REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: GenOn Energy, Inc. (5566); GenOn Americas Generation, LLC (0520); GenOn Americas
      Procurement, Inc. (8980); GenOn Asset Management, LLC (1966); GenOn Capital Inc. (0053); GenOn Energy
      Holdings, Inc. (8156); GenOn Energy Management, LLC (1163); GenOn Energy Services, LLC (8220); GenOn
      Fund 2001 LLC (0936); GenOn Mid-Atlantic Development, LLC (9458); GenOn Power Operating Services
      MidWest, Inc. (3718); GenOn Special Procurement, Inc. (8316); Hudson Valley Gas Corporation (3279); Mirant
      Asia-Pacific Ventures, LLC (1770); Mirant Intellectual Asset Management and Marketing, LLC (3248); Mirant
      International Investments, Inc. (1577); Mirant New York Services, LLC (N/A); Mirant Power Purchase, LLC
      (8747); Mirant Wrightsville Investments, Inc. (5073); Mirant Wrightsville Management, Inc. (5102); MNA
      Finance Corp. (8481); NRG Americas, Inc. (2323); NRG Bowline LLC (9347); NRG California North LLC
      (9965); NRG California South GP LLC (6730); NRG California South LP (7014); NRG Canal LLC (5569); NRG
      Delta LLC (1669); NRG Florida GP, LLC (6639); NRG Florida LP (1711); NRG Lovett Development I LLC
      (6327); NRG Lovett LLC (9345); NRG New York LLC (0144); NRG North America LLC (4609); NRG
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      (6495); NRG Wholesale Generation LP (3947); NRG Willow Pass LLC (1987); Orion Power New York GP, Inc.
      (4975); Orion Power New York LP, LLC (4976); Orion Power New York, L.P. (9521); RRI Energy Broadband,
      Inc. (5569); RRI Energy Channelview (Delaware) LLC (9717); RRI Energy Channelview (Texas) LLC (5622);
      RRI Energy Channelview LP (5623); RRI Energy Communications, Inc. (6444); RRI Energy Services
      Channelview LLC (5620); RRI Energy Services Desert Basin, LLC (5991); RRI Energy Services, LLC (3055);
      RRI Energy Solutions East, LLC (1978); RRI Energy Trading Exchange, Inc. (2320); and RRI Energy Ventures,
      Inc. (7091). The Debtors’ service address is: 804 Carnegie Center, Princeton, New Jersey 08540.
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        Kirkland & Ellis LLP and Kirkland & Ellis International LLP (collectively, “K&E”),

attorneys for the above-captioned debtors and debtors in possession (collectively, the “Debtors”),

hereby submits its second interim application (this “Fee Application”) for the allowance of

compensation for professional services provided in the amount of $9,586,069.50 and

reimbursement of actual and necessary expenses in the amount of $282,523.13 for the period from

October 1, 2017, through and including December 12, 2017 (the “Fee Period”) 1. In support of

this Fee Application, K&E submits the declaration of David R. Seligman, P.C., a partner at K&E,

(the “Seligman Declaration”), which is attached hereto as Exhibit A and incorporated by

reference. In further support of this Fee Application, K&E respectfully states as follows.

                                                  Jurisdiction

        1.       The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2).

        2.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.       The bases for the relief requested herein are sections 330 and 331 of title 11 of the

United States Code (the “Bankruptcy Code”), rule 2016 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), rule 2016-1 of the Bankruptcy Local Rules of the United

States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Local Rules”), and




1
    On December 19, 2017, K&E filed its First Interim Fee Application of Kirkland & Ellis LLP and Kirkland &
    Ellis International LLP, Attorneys for the Debtors and Debtors in Possession, for the Period from June 14, 2017
    Through and Including September 30, 2017 [Docket No. 1273] (the “First Interim Fee Application”), with the
    Court (as defined herein). As of the date hereof no objections have been filed with respect to the First Interim
    Fee Application. A hearing is scheduled before the Court for January 17, 2018, at 3:00 p.m. (Central Time).
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the Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses for

Professionals [Docket No. 228] (the “Interim Compensation Order”).

                                            Background

       4.         On June 14, 2017 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their

businesses and managing their properties as debtors-in-possession pursuant to sections 1107(a)

and 1108 of the Bankruptcy Code. On the Petition Date, the Court entered an order [Docket No. 4]

authorizing the joint administration and procedural consolidation of the Debtors’ chapter 11 cases

pursuant to Bankruptcy Rule 1015(b). No entity has requested the appointment of a trustee or

examiner in these chapter 11 cases.

       5.         A description of the Debtors’ businesses, the reasons for commencing the chapter

11 cases, and the relief sought from the Court to allow for a smooth transition into chapter 11 are

set forth in the Declaration of Mark A. McFarland in Support of Debtors’ Chapter 11 Petitions,

filed on the Petition Date [Docket No. 19] and incorporated herein by reference.

       6.         On July 13, 2017, the Court entered the Interim Compensation Order, which sets

forth the procedures for interim compensation and reimbursement of expenses for all professionals

in these cases.

                                       Preliminary Statement

       7.         During the Fee Period, K&E represented the Debtors professionally and diligently,

advising them on a variety of complex matters and issues, as a result of which the Debtors took

action to maximize the value of their estates for the benefit of all parties in interest, culminating in

confirmation of the Plan.

       8.         Estimation of Owner Lessor Plaintiff’s Claims.            The Bankruptcy Court’s

evidentiary hearing on the Debtors’ motion requesting the Court to estimate the Owner Lessor


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Plaintiffs’ Claims at $0 [Docket No. 128] (the “Estimation Motion”) continued throughout the Fee

Period. Closing arguments took place on November 7, 2017 and the Court issued an oral bench

ruling on the same day, estimating, for all purposes, the claims outlined in the Estimation Motion

at zero dollars.

        9.         The Marketing Process. Over the course of these chapter 11 cases, the Debtors, in

consultation with their other stakeholders, determined that certain strategic sale transactions would

likely enhance the value of the Debtors’ estates. To date, the Debtors have received indications of

interest from a host of financial and strategic parties and have entered into confidentiality

agreements with certain potential bidders to permit further negotiations. On October 6, 2017, first

round bids from potential bidders were due. The Debtors and their advisors worked diligently to

determine which parties proceeded to the second phase of the bidding process. Those parties

selected were subsequently granted access to a data room containing detailed information about

the Debtors’ assets. Second round bids from these phase two parties are due January 12, 2018.

The Debtors and their advisors continue to work diligently towards the pursuit of a value-

maximizing sale transactions.

        10.        Claims Objection Procedures. On October 21, 2017, the Debtors filed its Motion

to Approve Omnibus Claim Objection Procedures [Docket No. 990]. On December 8, 2017, the

Court entered an order approving the Debtors’ motion [Docket No. 1196].

        11.        Natural Gas Litigation. The Debtors responded to a host of motions filed by a

class of plaintiffs alleging violations of antitrust laws (the “Natural Gas Plaintiffs”). On October

11, 2017, the Natural Gas Plaintiffs filed their Motion of the Natural Gas Litigation Midwest Class

Plaintiffs to Stay Proceedings Regarding Class Claim [Docket No. 936]. On October 18, the

Debtors filed their Objection to Motion of the Natural Gas Litigation Midwest Class Plaintiffs to




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Stay Proceedings Regarding Class Claim [Docket No. 969]. On October 27, 2017, the Court

entered an order denying the Motion of the Natural Gas Litigation Midwest Class Plaintiffs to Stay

Proceedings Regarding Class Claim [Docket No. 1035].

       12.     On October 13, 2017, the Debtors filed their Objection to Motion of the Natural

Gas Litigation Midwest Class Plaintiffs in Support of Allowance of Class Proofs of Claim

[Docket No. 947]. On October 25, 2017, the Natural Gas Plaintiffs filed their Reply in Support of

Motion in Support of Allowance of Class Proofs of Claim [Docket No. 1001]. On October 31,

2017, the Debtors filed their Sur-Reply to Natural Gas Plaintiffs’ Reply in Support of Allowance

of Class Proofs of Claim [Docket No. 1048]. On November 13, 2017, the Court entered an order

denying the Motion of the Natural Gas Litigation Midwest Class Plaintiffs for Allowance of Class

Proof of Claim [Docket No. 1165]. The Natural Gas Plaintiffs filed an objection to the Debtors’

Plan and after extensive discussions, the parties were able to resolve all open Plan objections prior

to the Confirmation Hearing by adding language to the Confirmation Order (defined below).

       13.     Extending RSA Milestones. During the Fee Period, the Debtors negotiated a

settlement with the GenOn and GAG noteholders that are a party to the RSA

(the “Consenting Noteholders”) to extend certain RSA milestones. On October 30, 217, the

Debtors and the Consenting Noteholders entered into a consent agreement where the Debtors

would amend the Consenting GAG Noteholders’ plan treatment in exchange for extending the

effective date deadline to June 30, 2018, or September 30, 2018 if regulatory approvals are still

pending. On November 3, 2017, the Debtors filed its Motion to Approve a Global Settlement

[Docket No. 1069] seeking Court approval of the consent agreement. This settlement was

approved at Confirmation.




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       14.     Plan Confirmation. K&E focused on securing confirmation of the Debtors’

prearranged chapter 11 plan—a process that has involved preparing for the December 12, 2017

Confirmation Hearing, working closely with the Office of the United States Trustee for the

Southern District of Texas and their other stakeholders to respond to and resolve numerous

objections to confirmation of the Plan. At a hearing on December 12, 2017 (the “Confirmation

Hearing”), the Bankruptcy Court confirmed the Debtors’ Plan.

       15.     In advance of the Confirmation Hearing, the Debtors work tirelessly to resolve a

host of open issues and asked the Court to approve a Confirmation Order that contained

comprehensive settlements with (i) NRG, to facilitate its transition and emergence from

bankruptcy (including multiple Plan Supplement Documents, some of which became effective

upon entry of the Confirmation Order); (ii) the Consenting Noteholders, including various Plan

Supplement Documents and the aforementioned consent agreement; (iii) GenMA and its creditors,

including with respect to certain corporate governance issues, its determination to opt out of third-

party releases, its proof of claim (and related creditor proofs of claim), and a comprehensive

settlement of issues left open after the hearing on the Estimation Motion; and (iv) REMA and its

creditors, including with respect to certain corporate governance issues, its determination to opt

out of third-party releases, its proof of claim (and related creditor proofs of claim), and an on-

going investigation of claims.

                                      Case Status Summary

       16.     The Debtors filed these chapter 11 cases with a prepetition restructuring support

agreement (the “RSA”) that had overwhelming consensus among their primary stakeholders,

including their non-Debtor parent, NRG, and holders of over ninety percent in principal amount

of the prepetition unsecured notes issued by GenOn and GenOn Americas Generation, LLC

(“GAG”), respectively. The RSA encompasses a global deal that permits GenOn to emerge as a


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wholly independent company and contemplates restructuring transactions that would: (a) convert

approximately $1.8 billion of debt to equity under a chapter 11 plan; (b) pay cash to unsecured

noteholders at an agreed-upon discount to par; (c) implement a global settlement of potential

claims and causes of action against NRG; and (d) provide the Debtors with exit financing. The

restructuring significantly delevered the Debtors’ balance sheet by more than $1 billion and

implemented an orderly transition to a standalone power generation company.

       17.    On October 5, 2017, an order was entered approving the adequacy of the disclosure

statement, allowing the Debtors to launch the solicitation process for voting on the plan of

reorganization on October 6, 2017.     On December 12, 2017, the Court entered the Order

Confirming the Third Amended Joint Chapter 11 Plan of Reorganization of GenOn Energy, Inc.,

and Its Debtor Affiliates [Docket No. 1250] (the “Confirmation Order”).

       18.    The above-mentioned negotiations all occurred while the Debtors continued to

operate their businesses in the ordinary course. Committed to ensuring that the chapter 11 filing

would not disrupt their businesses, the Debtors stabilized their operations through various

operational first- and second-day motions and orders, and ultimately confirmed the plan. This

allowed them to, among other things, continue intercompany arrangements, obtain letters of credit

critical to operations, pay employees, continue their hedging program, and continue to use their

cash management system until the Confirmation Order was entered. Since the Confirmation Order

was entered, the Debtors have been diligently working to implement the terms of the Plan and

various settlements embodied therein to ensure a smooth and timely emergence from chapter 11.

                               The Debtors’ Retention of K&E

       19.    On July 13, 2017, the Court entered the Order Authorizing the Retention and

Employment of Kirkland & Ellis LLP and Kirkland & Ellis International LLP as Attorneys for the

Debtors and Debtors in Possession Effective Nunc Pro Tunc to the Petition Date [Docket No. 197]


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(the “Retention Order”), attached hereto as Exhibit B and incorporated by reference. The

Retention Order authorizes the Debtors to compensate and reimburse K&E in accordance with the

Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy Rules, and the Interim

Compensation Order. The Retention Order also authorizes the Debtors to compensate K&E at

K&E’s hourly rates charged for services of this type and to reimburse K&E for K&E’s actual and

necessary out-of-pocket expenses incurred, subject to application to this Court. The particular

terms of K&E’s engagement are detailed in the engagement letter by and between K&E and the

Debtors, effective as of June 23, 2016, and attached hereto as Exhibit C (the “Engagement

Letter”).

       20.    The Retention Order authorizes K&E to provide the following services consistent

with and in furtherance of the services enumerated above:

              a.      advising the Debtors with respect to their powers and duties as
                      debtors-in-possession in the continued management and operation of their
                      business and properties;

              b.      preparing pleadings, including motions, applications, answers, orders,
                      reports, and papers necessary or otherwise beneficial to the administration
                      of the Debtors’ estates and consistent with the services identified in the
                      Retention Order;

              c.      appearing before the Court and any appellate courts to represent the interests
                      of the Debtors’ estates before those courts in connection with the services
                      in the Retention Order; and

              d.      performing all other legal services reasonably necessary or otherwise
                      beneficial for the Debtors in connection with these chapter 11 cases.

                                  Disinterestedness of K&E

       21.    To the best of the Debtors’ knowledge and as disclosed in the Declaration of David

R. Seligman in Support of the Debtors’ Application for the Entry of an Order Authorizing the

Retention and Employment of Kirkland & Ellis LLP and Kirkland & Ellis International LLP as

Attorneys for the Debtors and Debtors in Possession Effective Nunc Pro Tunc to the Petition Date


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[Docket No. 121], the First Supplemental Declaration of David R. Seligman in Support of the

Debtors’ Application for the Entry of an Order Authorizing the Retention and Employment of

Kirkland & Ellis LLP and Kirkland & Ellis International LLP as Attorneys for the Debtors and

Debtors in Possession Effective Nunc Pro Tunc to the Petition Date [Docket No. 239], the Second

Supplemental Declaration of David R. Seligman in Support of the Debtors’ Application for the

Entry of an Order Authorizing the Retention and Employment of Kirkland & Ellis LLP and

Kirkland & Ellis International LLP as Attorneys for the Debtors and Debtors in Possession

Effective Nunc Pro Tunc to the Petition Date [Docket No. 696], the Third Supplemental

Declaration of David R. Seligman in Support of the Debtors’ Application for the Entry of an Order

Authorizing the Retention and Employment of Kirkland & Ellis LLP and Kirkland & Ellis

International LLP as Attorneys for the Debtors and Debtors in Possession Effective Nunc Pro

Tunc to the Petition Date [Docket No. 772], and the Fourth Supplemental Declaration of David

R. Seligman in Support of the Debtors’ Application for the Entry of an Order Authorizing the

Retention and Employment of Kirkland & Ellis LLP and Kirkland & Ellis International LLP as

Attorneys for the Debtors and Debtors in Possession Effective Nunc Pro Tunc to the Petition Date

[Docket No. 1260] (collectively, the “K&E Declaration”), (a) K&E is a “disinterested person”

within the meaning of section 101(14) of the Bankruptcy Code, as required by section 327(a) of

the Bankruptcy Code, and does not hold or represent an interest adverse to the Debtors’ estates

and (b) K&E has no connection to the Debtors, their creditors, or other parties in interest, except

as may be disclosed in the K&E Declaration.

       22.     K&E may have in the past represented, may currently represent, and likely in the

future will represent parties in interest in connection with matters unrelated to the Debtors in these

chapter 11 cases. In the K&E Declaration, K&E disclosed its connections to parties in interest that




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it has been able to ascertain using its reasonable efforts. K&E will update the K&E Declaration

as appropriate, if K&E becomes aware of relevant and material new information.

       23.     K&E performed the services for which it is seeking compensation on behalf of the

Debtors and their estates, and not on behalf of any committee, creditor, or other entity.

       24.     Except to the extent of the advance payments paid to K&E that K&E previously

disclosed to this Court in the K&E Declaration, K&E has received no payment and no promises

for payment from any source other than the Debtors for services provided or to be provided in any

capacity whatsoever in connection with these chapter 11 cases.

       25.     Pursuant to Bankruptcy Rule 2016(b), K&E has not shared, nor has K&E agreed to

share (a) any compensation it has received or may receive with another party or person other than

with the partners, counsel, and associates of K&E or (b) any compensation another person or party

has received or may receive.

                 Summary of Compliance with Interim Compensation Order

       26.     This Fee Application has been prepared in accordance with the Interim

Compensation Order.

       27.     K&E seeks interim compensation for professional services rendered to the Debtors

during the Fee Period in the amount of $9,586,069.50 and reimbursement of actual and necessary

expenses incurred in connection with providing such services in the amount of $282,523.13.

During the Fee Period, K&E attorneys and paraprofessionals expended a total of 11,375.20 hours

for which compensation is requested.

       28.     In accordance with the Interim Compensation Order, as of the date hereof, K&E

has received payments totaling $0.00 for the Fee Period. Accordingly, by this Fee Application,

and to the extent such amounts have not been paid by the time of the hearing on this Fee




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Application, K&E seeks payment of $9,868,592.63, which amount represents the entire amount of

the unpaid fees and expenses for the Fee Period.2

                            Fees and Expenses Incurred During Fee Period

A.       Customary Billing Disclosures.

         29.      K&E’s hourly rates are set at a level designed to compensate K&E fairly for the

work of its attorneys and paraprofessionals and to cover fixed and routine expenses. The hourly

rates and corresponding rate structure utilized by K&E in these chapter 11 cases are equivalent to

the hourly rates and corresponding rate structure used by K&E for other restructuring matters, as

well as similar complex corporate, securities, and litigation matters whether in court or otherwise,

regardless of whether a fee application is required. The rates and rate structure reflect that such

restructuring and other complex matters typically are national in scope and typically involve great

complexity, high stakes, and severe time pressures. For the convenience of the Court and all

parties in interest, attached hereto as Exhibit E is a summary of blended hourly rates for

timekeepers who billed to non-bankruptcy matters and blended hourly rates for timekeepers who

billed to the Debtors during the Fee Period.

B.       Fees Incurred During Fee Period.

         30.      In the ordinary course of K&E’s practice, K&E maintains computerized records of

the time expended to render the professional services required by the Debtors and their estates.

For the convenience of the Court and all parties in interest, attached hereto as Exhibit F is a

summary of fees incurred and hours expended during the Fee Period, setting forth the following

information:

         •         the name of each attorney and paraprofessional for whose work on these chapter
                   11 cases compensation is sought;

2
     This amount also reflects the 20% holdback for the Fee Period.



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       •        each attorney’s year of bar admission and area of practice concentration;

       •        the aggregate time expended and fees billed by each attorney and each
                paraprofessional during the Fee Period;

       •        the hourly billing rate for each attorney and each paraprofessional at K&E’s
                current billing rates;

       •        the hourly billing rate for each attorney and each paraprofessional as disclosed in
                the first interim application;

       •        the number of rate increases since the inception of the case; and

       •        a calculation of total compensation requested using the rates disclosed in the
                Debtors’ Application for Entry of an Order Authorizing the Retention and
                Employment of Kirkland & Ellis LLP and Kirkland & Ellis International LLP as
                Attorneys for the Debtors and Debtors in Possession Effective Nunc Pro Tunc to
                the Petition Date (the “Retention Application”).

C.     Expenses Incurred During Fee Period.

       31.     In the ordinary course of K&E’s practice, K&E maintains a record of expenses

incurred in the rendition of the professional services required by the Debtors and their estates and

for which reimbursement is sought.        K&E currently charges $0.16 per page for standard

duplication in its offices in the United States. K&E does not charge its clients for incoming

facsimile transmissions.

       32.     For the convenience of the Court and all parties in interest, attached hereto as

Exhibit G is a summary for the Fee Period, setting forth the total amount of reimbursement sought

with respect to each category of expenses for which K&E is seeking reimbursement.

                Summary of Legal Services Rendered During the Fee Period

       33.     As discussed above, during the Fee Period, K&E provided extensive and important

professional services to the Debtors in connection with these chapter 11 cases. These services

were often performed under severe time constraints and were necessary to address a multitude of




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critical issues both unique to these chapter 11 cases and typically faced by large corporate debtors

in similar cases of this magnitude and complexity.

            34.        To provide a meaningful summary of K&E’s services provided on behalf of the

Debtors and their estates, K&E has established, in accordance with its internal billing procedures,

certain subject matters categories (each, a “Matter Category”) in connection with these chapter 11

cases. The following is a summary of the fees and hours billed for each Matter Category in the

Fee Period:3

    Matter        Project Category                   Hours                            Total Compensation
    Number        Description               Budgeted          Billed           Budgeted                     Billed
     0007         Chapter 11 Filing            0–0             0.00           $0.00 – $0.00                 $0.00
     0008         Case Administration       578 – 722        131.10     $350,000.00 – $437,197.00      $68,852.50
                  Plan, Disclosure
                                                                             $1,500,000.00 –
     0009         Statement,               1,668 – 2,084     2,659.20                                 $2,249,371.50
                                                                              $1,875,000.00
                  Confirmation
                  K&E Fee, Employment
     0010                                   312 – 390        216.50     $250,000.00 – $312,500.00      $122,615.50
                  Application, Object.
                  Non-K&E Fee,
     0011         Employment App.,          263 – 329        125.50     $200,000.00 – $250,000.00      $82,041.00
                  Objection
     0012         SOFAs and Schedules       387 – 484         47.70     $300,000.00 – $375,000.00      $25,524.00
     0013         U.S. Trustee Issues       394 – 493         11.30     $300,000.00 – $375,000.00          $7,199.00
     0014         Business Operations       460 – 575         84.50     $350,000.00 – $437,500.00      $78,827.50
                  Corporate and
     0015                                   639 – 799        291.20     $650,000.00 – $812,500.00      $275,095.50
                  Governance Issues
     0016         Cash Management          929 – 1,161         0.90     $750,000.00 – $937,500.00          $895.50
                  DIP, Cash Collateral,
     0017                                  889 – 1,111       138.70     $750,000.00 – $937,500.00      $139,662.50
                  Exit Financing
     0018         Employee Issues           706 – 883        346.20     $625,000.00 – $781,250.00      $395,904.00
                  Insurance and Related
     0019                                   306 – 383         1.80      $250,000.00 – $312,500.00          $1,591.00
                  Matters
     0020         Regulatory Issues         743 – 929         80.70     $600,000.00 – $750,000.00      $67,719.00
                  Vendor and Supplier
     0021                                  921 – 1,151        40.30     $650,000.00 – $812,500.00      $26,468.50
                  Issues
     0022         Utilities                 181 – 227         1.30      $150,000.00 – $187,500.00          $838.50
                  Creditor
     0023                                   225 – 290         90.40     $150,000.00 – $193,333.00      $108,327.50
                  Communications
     0024         Taxes                     186 – 233        127.80     $150,000.00 – $187,500.00      $140,816.50
                  Adversary Proceedings,                                     $1,750,000.00 –
     0025                                  1,840 – 2,700     1,826.60                                 $1,601,240.50
                  Contested Matters                                           $2,567,700.00

3
     In certain instances K&E may have billed the same amount of fees, but different amount of hours to different
     matter categories. This difference is the result of different staffing of each such matter category.



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 Matter         Project Category                  Hours                            Total Compensation
 Number         Description               Budgeted         Billed            Budgeted                   Billed
   0026         Automatic Stay Matters    551 – 689        17.10      $500,000.00 – $625,000.00     $11,511.00
   0028         Hearings                  538 – 673        658.90     $562,500.00 – $703,125.00     $509,240.00
                Claims Administration
   0029                                   461 – 576        208.00     $400,000.00 – $500,000.00     $140,339.00
                and Objections
                Executory Contracts
   0030                                   576 – 720        220.70     $500,000.00 – $625,000.00     $158,382.00
                and Unexpired Leases
                Use, Sale, or Lease of
   0031                                  852 – 1,065      2,735.10    $750,000.00 – $937,500.00    $2,093,618.50
                Property
   0032         Non-Working Travel        353 – 441        271.60     $312,500.00 – $390,625.00     $244,237.50
                                                                           $1,500,000.00 –
   0034         Exit Planning            1,619 – 2,024    1,042.10                                 $1,035,751.50
                                                                            $1,875,000.00
                                           16,963 –
 Totals                                                   11,375.20   $14,600,000 – $18,635,730    $9,586,069.50
                                            21,612

          35.        The following is a summary, by Matter Category, of the most significant

professional services provided by K&E during the Fee Period. This summary is organized in

accordance with K&E’s internal system of matter numbers. The detailed descriptions demonstrate

that K&E was heavily involved in performing services for the Debtors on a daily basis, often

including night and weekend work, to meet the needs of the Debtors’ estates in these chapter 11

cases. A schedule setting forth a description of the Matter Categories utilized in this case, the

number of hours expended by K&E partners, associates and paraprofessionals by matter, and the

aggregate fees associated with each matter is attached hereto as Exhibit H.

          36.        In addition, K&E’s computerized records of time expended providing professional

services to the Debtors and their estates are attached hereto as Exhibit I, and K&E’s records of

expenses incurred during the Fee Period in the rendition of professional services to the Debtors

and their estates are attached as Exhibit J.




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               (a)     Case Administration [Matter No. 8]

                       Total Fees:  $68,852.50
                       Total Hours: 131.10

       37.     This Matter Category includes time spent on a variety of tasks that were necessary

to ensure the efficient and smooth administration of legal services related to the Debtors’ chapter

11 cases. Specifically, K&E attorneys and paraprofessionals spent time:

                       (i)     preparing notices of motions, proposed orders, exhibits, and
                               schedules;

                       (ii)    attending work in progress meetings among various advisor groups;

                       (iii)   coordinating delivery of pleadings;

                       (iv)    monitoring dockets to track the filing of pleadings and remain
                               apprised of critical dates; and

                       (v)     coordinating detailed documents and analyses across K&E
                               professionals, the Debtors, and the Debtors’ other advisors.

       38.     Time billed to this Matter Category also includes work and meetings related to

multiple matters such that the time cannot be easily allocated to one of the other matters.

               (b)     Plan / Disclosure Statement / Confirmation [Matter No. 9]

                       Total Fees:  $2,249,371.50
                       Total Hours: 2,659.20
       39.     This Matter Category includes time spent by K&E attorneys and paraprofessionals

providing services related to developing a plan of reorganization (the “Plan”) and disclosure

statement (the “Disclosure Statement”) in connection with these chapter 11 cases and obtaining

confirmation of the Plan. Specifically, K&E attorneys and paraprofessionals spent time:

                       (i)     researching, reviewing, and evaluating precedent regarding plan
                               strategies and components, including issues related to confirmation
                               of a chapter 11 plan of reorganization;

                       (ii)    researching, reviewing, and evaluating various restructuring issues
                               and restructuring alternatives;



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                      (iii)   researching, reviewing, evaluating and ultimately implementing
                              various strategies to effectuate separation from NRG to a standalone
                              entity;

                      (iv)    reviewing and amending the Plan, specifically to implement the
                              GenMA, NRG, and GAG Settlements;

                      (v)     evaluating and ultimately pursuing a marketing process for a
                              potential third-party sale transaction, and reviewing and amending
                              the Plan and disclosure statement to reflect such dual-process;

                      (vi)    drafting, revising, and filing the Debtors’ Second Amended Plan
                              [Docket No. 832]; the Debtors’ Second Amended Disclosure
                              Statement [Docket No. 835]; the Debtors’ Second Amended
                              Proposed Disclosure Statement Order [Docket No. 837]; the
                              Debtors’ Third Amended Proposed Disclosure Statement Order
                              [Docket No. 855]; and the Debtors’ Third Amended Plan [Docket
                              No. 1213];

                      (vii)   responding to and resolving numerous formal and informal Plan
                              objections;

                      (viii) drafting, revising, and filing the Debtors’ Plan Supplement
                             [Docket No. 1047]; the Debtors’ First Amended Plan Supplement
                             [Docket No. 1068]; the Debtors’ Second Amended Plan Supplement
                             [Docket No. 1212]; the Debtors’ Third Amended Plan Supplement
                             [Docket No. 1216]; and the Debtors’ Fourth Amended Plan
                             Supplement [Docket No. 1220]; and

                      (ix)    coordinating execution of and implementing multiple plan
                              supplement documents and settlement agreements.

              (c)     K&E Fee / Employment Application / Objection [Matter No. 10]

                      Total Fees:  $122,615.50
                      Total Hours: 216.50
       40.    This Matter Category includes time spent by K&E attorneys and paraprofessionals

providing services related to the retention of K&E as the Debtors’ counsel. Specifically, K&E

attorneys and paraprofessionals spent time:

                      (i)     preparing pleadings and a comprehensive conflict analysis
                              necessary to obtain the order of the Court approving the employment
                              of K&E to represent the Debtors;




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                      (ii)    implementing internally established procedures which require the
                              continuous analysis of potential new conflicts;

                      (iii)   preparing updated professional disclosures for filing with the Court;

                      (iv)    preparing and distributing K&E’s monthly fee statements, in
                              accordance with the Interim Compensation Order, for the periods
                              October 1, 2017 through October 31, 2017 [Docket No. 1263], and
                              November 1, 2017 through December 12, 2017 [Docket No. 1288];

                      (v)     preparing and distributing K&E’s first interim fee application, in
                              accordance with the Interim Compensation Order, for the period
                              June 14, 2017 through September 30, 2017 [Docket No. 1273]; and

                      (vi)    reviewing all time entries to ensure compliance with the Interim
                              Compensation Order and applicable provisions of the Bankruptcy
                              Code, and to make necessary redactions to preserve the
                              confidentiality of the work performed for the Debtors.

              (d)     Non-K&E Fee / Employment / Objection [Matter No. 11]

                      Total Fees:  $82,041.00
                      Total Hours: 125.50
       41.    This Matter Category includes time spent by K&E attorneys and paraprofessionals

providing services related to ensuring the retention of the Debtors’ other professionals in these

chapter 11 cases. Specifically, K&E attorneys and paraprofessionals spent time:

                      (i)     coordinating with the Debtors and their other advisors with respect
                              to ordinary course professional retentions and complying with the
                              related disclosure requirements of applicable provisions of the
                              Bankruptcy Code;

                      (ii)    reviewing retention applications filed by the Committee’s
                              professionals and coordinating with the Committee to address the
                              Debtors’ concerns regarding these retentions and reviewing related
                              fee statements; and

                      (iii)   coordinating and filing interim fee applications of the Debtors’
                              various other advisors, in accordance with the Interim
                              Compensation Order, for the period June 14, 2017 through
                              September 30, 2017 [Docket Nos. 1270, 1271, 1272, and 1275].




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               (e)     SOFAs and Schedules [Matter No. 12]

                       Total Fees:  $25,524.00
                       Total Hours: 47.70
       42.     This Matter Category includes time spent by K&E attorneys and paraprofessionals

providing services related to advising the Debtors, Epiq Bankruptcy Solutions, LLC, and other

advisors in connection with the preparation, review, revision, and filing of the Debtors’ monthly

operating reports, periodic reports, schedules of assets and liabilities, and statements of financial

affairs, as well as preparing, reviewing, revising, and filing subsequently amended versions of such

(collectively, the “Schedules and Statements”). Moreover, K&E attorneys advised the Debtors

regarding drafting the Schedules and Statements, attended regular conferences with the Debtors

and their advisors regarding the same, and conferred and corresponded with the Debtors and K&E

professionals regarding the monthly operating reports.

               (f)     U.S. Trustee Issues [Matter No. 13]

                       Total Fees:  $7,199.00
                       Total Hours: 11.30
       43.     This Matter Category includes time spent by K&E attorneys and paraprofessionals

corresponding with the U.S. Trustee with respect to the following issues:

                       (i)     conducting discussions, phone calls and correspondence with the
                               U.S. Trustee regarding retention matters and responding to
                               questions and comments regarding the same;

                       (ii)    conducting discussions, phone calls and correspondence with the
                               U.S. Trustee regarding various other pleadings and matters and
                               responding to questions and comments regarding the same; and

                       (iii)   coordinating efforts among the Debtors and their other professionals
                               to address various concerns and issues raised by the U.S. Trustee
                               with respect to the Disclosure Statement and Plan.




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              (g)     Business Operations [Matter No. 14]

                      Total Fees:  $78,827.50
                      Total Hours: 84.50

       44.    It is important that the Debtors and their advisors create and implement an

all-encompassing and cohesive strategy for maintaining business operations with minimal

disruptions during the course of the Debtors’ chapter 11 cases.               K&E attorneys and

paraprofessionals spent time developing a strategy with the Debtors to ensure a smooth transition

into chapter 11 and to ensure that going forward the business operations continue without

interruption. Specifically, K&E attorneys and paraprofessionals spent time:

                      (i)     assisting the Debtors formulate a go-forward business plan;

                      (ii)    communicating with the Debtors’ officers regarding the effect of the
                              Debtors’ chapter 11 cases on the Debtors’ ongoing operations,
                              including the Debtors’ complex hedging and trading practices;

                      (iii)   assisting the Debtors and other advisors and professionals with their
                              compliance with chapter 11 operating and reporting
                              requirements; and

                      (iv)    communicating with vendors and confidential hedging
                              counterparties regarding uninterrupted service during these chapter
                              11 cases.

              (h)     Corporate Governance [Matter No. 15]

                      Total Fees:  $275,095.50
                      Total Hours: 291.20

       45.    This Matter Category includes time spent by K&E attorneys and paraprofessionals

advising the Debtors, the Board of Directors (the “Board”), and the Governance Committee of the

Board (the “Governance Committee”) during the pendency of these chapter 11 cases. Specifically,

K&E attorneys and paraprofessionals spent time:

                      (i)     communicating with the Debtors’ directors and officers on the status
                              of the Debtors’ chapter 11 cases;

                      (ii)    participating in meetings of the Debtors’ boards of directors;


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                       (iii)   analyzing various other corporate governance issues related to the
                               Debtors’ chapter 11 cases;

                       (iv)    reviewing, revising, and finalizing various filings in accordance
                               with regulations promulgated by the Securities and Exchange
                               Commission; and

                       (v)     drafting and adopting board resolutions and board materials related
                               to these chapter 11 cases.

               (i)     Cash Management [Matter No. 16]

                       Total Fees:  $895.50
                       Total Hours: 0.90

       46.     This Matter Category includes time spent by K&E attorneys to implement various

terms detailed in the Court’s Final Order Authorizing the Debtors to Operate Their Cash

Management System [Docket No. 232].


               (j)     DIP, Cash Collateral, Exit Financing [Matter No. 17]

                       Total Fees:  $139,662.50
                       Total Hours: 138.70

       47.     This Matter Category includes time spent by K&E attorneys and paraprofessionals

regarding letter of credit and exit financing issues. Initially, the Debtors intended to enter into exit

financing consisting of (a) a senior secured revolving credit facility to be provided to the extent

necessary to fund the reorganized Debtors’ working capital and other operational needs and (b) a

rights offering of secured notes in an aggregate principal amount of up to $900 million. After

much deliberation, the Debtors have elected to forego the rights offering. The Debtors and their

advisors continue to evaluate and analyze appropriate exit financing. Specifically, K&E attorneys

and paraprofessionals spent time:

                       (i)     reviewing and analyzing the Debtors’ debt documents;

                       (ii)    analyzing the Debtors’ letter of credit facility; and

                       (iii)   evaluating and developing the Debtors’ exit financing plan.


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               (k)    Employee Issues [Matter No. 18]

                      Total Fees:    $395,904.00
                      Total Hours    346.20
       48.     This Matter Category includes time spent by K&E attorneys and paraprofessionals

providing services related to various issues involving the Debtors’ employees. Specifically, K&E

attorneys and paraprofessionals spent time:

                      (i)     reviewing and analyzing employee bonus, incentive, and severance
                              considerations and structures;

                      (ii)    drafting, negotiating, reviewing, and entering the Pension Indemnity
                              Agreement and Employee Matters Agreement; and

                      (iii)   advising the Debtors with respect to compensation programs for key
                              employees.

               (l)    Insurance and Related Matters [Matter No. 19]

                      Total Fees:  $1,591.00
                      Total Hours: 1.80
       49.     This Matter Category includes time spent by K&E attorneys and paraprofessionals

providing services related to ensuring that Debtors’ insurance policies were maintained during

these chapter 11 cases.

               (m)    Regulatory Issues [Matter No. 20]

                      Total Fees:  $67,719.00
                      Total Hours: 80.70
       50.     This Matter Category includes time spent by K&E attorneys and paraprofessionals

providing services related to various state and federal regulatory requirements and environmental

issues. Specifically, K&E attorneys and paraprofessionals spent time:

                      (i)     diligencing the Debtors’ regulatory issues and developing plans for
                              compliance with state and federal regulations during the pendency
                              of these chapter 11 cases;

                      (ii)    corresponding with outside regulatory counsel;

                      (iii)   drafting various regulatory filings; and


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                       (iv)    communicating with state and federal regulators.

               (n)     Vendor and Supplier Issues [Matter No. 21]

                       Total Fees:  $26,468.50
                       Total Hours: 40.30

       51.     This Matter Category includes time spent by K&E attorneys and paraprofessionals

advising the Debtors on vendor and supplier issues, including with respect to first day relief and

postpetition business activities. Specifically, K&E attorneys and paraprofessionals spent time:

                       (i)     reviewing and addressing issues related to various assertions raised
                               by certain vendors; and

                       (ii)    communicating with the Debtors and the vendors regarding the
                               same.

               (o)     Utilities [Matter No. 22]

                       Total Fees:  $838.50
                       Total Hours: 1.30
       52.     This Matter Category includes time spent by K&E attorneys and paraprofessionals

providing services relating to utility issues arising in connection with filing these chapter 11 cases,

including:

                       (i)     addressing requests from various utility providers for additional
                               assurance of the Debtors’ ongoing payment of their utility expenses;
                               and

                       (ii)    communicating and negotiating with such utility providers
                               regarding such requests.

               (p)     Creditor Communications [Matter No. 23]

                       Total Fees:  $108,327.50
                       Total Hours: 90.40
       53.     This Matter Category includes time spent by K&E attorneys and paraprofessionals

providing services related to inquiries from various creditors in these chapter 11 cases and

providing relevant information and access to the Debtors and their records as requested, including:




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                      (i)     monitoring, reviewing, and responding to general creditor inquiries,
                              including 2004 requests from various creditor entities;

                      (ii)    preparing and responding to diligence requests of ad hoc groups of
                              creditors; and

                      (iii)   assisting the Debtors’ management team with analyzing certain
                              issues, and various creditor inquiries, related to the Debtors’
                              go-forward business plan.

              (q)     Taxes [Matter No. 24]

                      Total Fees:  $140,816.50
                      Total Hours: 127.80
       54.    This Matter Category includes time spent by K&E attorneys and paraprofessionals

conducting legal research, preparing correspondence and pleadings, and generally advising the

Debtors on tax issues relating to or arising during the chapter 11 cases. During the Fee Period,

K&E attorneys were responsible for researching and analyzing certain tax issues arising in

connection with the Debtors’ business operations, including the following:

                      (i)     researching and analyzing taxation-related issues with respect to the
                              Debtors’ restructuring and corresponding with the Debtors and third
                              parties regarding such matters;

                      (ii)    corresponding with the Debtors as well as certain third parties
                              regarding certain tax-planning issues; and

                      (iii)   drafting, negotiating, reviewing, and entering into the Tax Matters
                              Agreement.

              (r)     Adversary Proceedings, Contested Matters [Matter No. 25]

                      Total Fees:  $1,601,240.50
                      Total Hours: 1,826.60

       55.    This Matter Category includes time spent by K&E attorneys and paraprofessionals

providing services relating to litigation, adversary proceedings, or other adversarial matters.

Specifically, K&E attorneys and paraprofessionals spent time:

                      (i)     preparing for and litigating a multi-day trial with respect to the
                              Estimation Motion, necessitating, among other things,


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                               15 depositions, extensive briefing, and detailed document analysis
                               and discovery, including the production of more than 25,000
                               documents and nine days of hearings and proceedings, each of
                               which individually required significant groundwork and
                               preparation; and

                       (ii)    responding to and resolving formal and informal objections to the
                               Plan by more than 50 parties in interest and preparing arguments in
                               response to the U.S. Trustee’s objection to the Plan.

               (s)     Automatic Stay Matters [Matter No. 26]

                       Total Fees:  $11,511.00
                       Total Hours: 17.10

       56.     This Matter Category includes time spent by K&E attorneys and paraprofessionals

providing services relating to the imposition of the automatic stay. Specifically, K&E attorneys

and paraprofessionals spent time:

                       (i)     responding to inquiries from counsel regarding the status of
                               proceedings stayed upon the commencement of these chapter 11
                               cases;

                       (ii)    researching issues related to the automatic stay; and

                       (iii)   negotiating resolutions to potential violations of the automatic stay.

               (t)     Hearings [Matter No. 28]

                       Total Fees:  $509,240.00
                       Total Hours: 658.90
       57.     This Matter Category includes time spent by K&E attorneys and paraprofessionals

providing services related to preparing for and attending several hearings during the Fee Period

(each a “Hearing” and, collectively, the “Hearings”), including preparing agendas, orders, and

binders related to Hearings, settling orders before and after Hearings, and corresponding with

various parties in preparation for, and after the Hearings. These services also included conferences

to discuss multiple matters scheduled for a specific Hearing and coordinating Hearing logistics.




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During the Fee Period, K&E attorneys and paraprofessionals spent considerable time preparing

for and attending Hearings including:

                      (i)     certain of the trial dates that occurred during the Fee period with
                              respect to the Estimation Motion, including on October 4, 2017,
                              October 6, 2017, October 16, 2017, October 17, 2017, October 18,
                              2017, October 19, 2017, November 3, 2017, and November 7,
                              2017;

                      (ii)    hearing on the Motion of the Natural Gas Litigation Midwest Class
                              Plaintiffs to Stay Proceedings Regarding Class Claim on October
                              19, 2017;

                      (iii)   hearing on the Motion of the Natural Gas Litigation Midwest Class
                              Plaintiffs in Support of Allowance of Class Proofs of Claim on
                              November 1, 2017; and

                      (iv)    Confirmation Hearing on December 12, 2017.

              (u)     Claims Administration and Objections [Matter No. 29]

                      Total Fees:  $140,339.00
                      Total Hours: 208.00

       58.    This Matter Category includes time K&E attorneys and paraprofessionals spent on

matters related to claims administration and claims-related issues. Specifically, K&E attorneys

and paraprofessionals spent time:

                      (i)     researching and analyzing claim treatment issues;

                      (ii)    review, analyzing, and initiating a review of the claim register;

                      (iii)   obtaining entry of the Order Approving Omnibus Claims Objection
                              Procedures [Docket No. 1196] to permit efficient administration of
                              claims; and

                      (iv)    preparing for the filing of the Debtors’ omnibus claims objections,
                              which filings are forthcoming.




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              (v)     Executory Contracts and Unexpired Leases [Matter No. 30]

                      Total Fees:  $158,382.00
                      Total Hours: 220.70

       59.    This Matter Category includes time spent by K&E attorneys examining issues

related to the Debtors’ executory contracts and unexpired leases. K&E attorneys spent time

researching, analyzing, renegotiating, or rejecting the Debtors’ obligations under their various

executory contracts. Specifically, K&E attorneys spent time:

                      (i)       researching, analyzing, and working with the Debtors to renegotiate
                                the Debtors’ obligations under certain contracts and leases; and

                      (ii)      researching, analyzing, and collecting documents related to
                                nonresidential leases.

              (w)     Use, Sale, or Lease of Property [Matter No. 31]

                      Total Fees:  $2,093,618.50
                      Total Hours: 2,735.10
       60.    This Matter Category includes time spent by K&E attorneys and paraprofessionals

providing services relating to the Debtors’ property interests. Specifically, K&E attorneys and

paraprofessionals spent time:

                      (i)       researching and evaluating the best means to maximize the value of
                                the equity interests of the Debtors and its wholly-owned
                                subsidiaries, under the sale process described in the Debtors’ Motion
                                to Approve Marketing Procedures and other related initiatives,
                                including with respect to GenMA and REMA;

                      (ii)      negotiating and documenting confidentiality agreements executed
                                by potential financial and strategic bidders;

                      (iii)     populating data room based and responding to diligence requests
                                from potential bidders and answering bidder questions regarding
                                legal due diligence;

                      (iv)      evaluating first round bids and determining which to advance to
                                the second round of bidding;

                      (v)       performing due diligence on asset packages and coordinating and
                                populating data rooms for second round bidders;


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                       (vi)    preparing draft purchase agreement and populating schedules for
                               separate asset packages including coordination with regulatory
                               specialists and local regulatory counsel; and

                       (vii)   assisting Credit Suisse and the Debtors’ other advisors with respect
                               to the marketing process.

       61.     Non-Working Travel Time [Matter No. 32]

                       Total Fees:  $244,237.50
                       Total Hours: 271.60
       62.     This Matter Category includes time spent by K&E attorneys and paraprofessionals

providing services relating to traveling in connection with their representation of the Debtors. The

amounts presented for review and the request for payment in the Fee Application reflect a

reduction of one half the charges for travel time.

               (x)     Exit Planning [Matter No. 34]

                       Total Fees:  $1,035,751.50
                       Total Hours: 1,042.10
       63.     This Matter Category includes time spent by K&E attorneys and paraprofessionals

providing services relating to preparing for the Debtors’ emergence from chapter 11. K&E

attorneys and paraprofessionals spent time working with the Debtors and their various other

advisors to develop and implement a strategy for emergence from chapter 11 and for a smooth

transition to a standalone enterprise.      Specifically, K&E attorneys and paraprofessionals

spent time:

                       (i)     working with the Debtors and their other advisors to develop
                               strategies to ease the transition from chapter 11;

                       (ii)    implementing various settlements included in the plan supplement
                               documents and settlement agreements;

                       (iii)   negotiating and documenting confidentiality agreements executed
                               by potential outsourcing counterparties;

                       (iv)    drafting, negotiating, reviewing, and entering various outsourcing
                               contracts related to IT, personnel, employee benefits, and
                               payroll; and


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                      (v)     analyzing various other issues related to the Debtors’ transition to a
                              standalone enterprise.

                      Actual and Necessary Expenses Incurred by K&E

       64.     As set forth in Exhibit I attached hereto, and as summarized in Exhibit G attached

hereto, K&E has incurred a total of $282,523.13 in expenses on behalf of the Debtors during the

Fee Period. These charges are intended to reimburse K&E’s direct operating costs, which are not

incorporated into the K&E hourly billing rates. K&E charges external copying and computer

research at the provider’s cost without markup. Only clients who actually use services of the types

set forth in Exhibit I of this Fee Application are separately charged for such services. The effect

of including such expenses as part of the hourly billing rates would impose that cost upon clients

who do not require extensive photocopying and other facilities and services.

                    Reasonable and Necessary Services Provided by K&E

A.     Reasonable and Necessary Fees Incurred in Providing Services to the Debtors.

       65.     The foregoing professional services provided by K&E on behalf of the Debtors

during the Fee Period were reasonable, necessary, and appropriate to the administration of these

chapter 11 cases and related matters.

       66.     Many of the services performed by partners and associates of K&E were provided

by K&E’s Restructuring Group. K&E has a prominent practice in this area and enjoys a national

and international reputation for its expertise in financial reorganizations and restructurings of

troubled companies, with over 100 attorneys focusing on this area of the law. The attorneys at

K&E have represented either the debtor or the creditors’ committee or have acted as special

counsel in many large chapter 11 cases.

       67.     In addition, due to the facts and circumstances of these chapter 11 cases, attorneys

from K&E’s litigation, corporate and tax groups were heavily involved with K&E’s representation



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of the Debtors. These practice groups also enjoy a national and international reputation for their

expertise. Overall, K&E brings to these chapter 11 cases a particularly high level of skill and

knowledge, which inured to the benefit of the Debtors and all stakeholders.

B.     Reasonable and Necessary Expenses Incurred in Providing Services to the Debtors.

       68.     The time constraints imposed by the circumstances of these chapter 11 cases

required K&E attorneys and other employees to devote substantial time during the evenings and

on weekends to perform services on behalf of the Debtors. These services were essential to meet

deadlines, respond to daily inquiries from various creditors and other parties in interest on a timely

basis, and satisfy the demands of the Debtors’ businesses and ensure the orderly administration of

their estates. Consistent with firm policy, and as further disclosed in the Retention Application,

K&E attorneys and other K&E employees who worked late in the evenings or on weekends were

reimbursed for their reasonable meal and transportation costs. K&E’s regular practice is not to

include components for those charges in overhead when establishing billing rates, but rather to

charge its clients for these and all other out-of-pocket disbursements incurred during the regular

course of the rendition of legal services.

       69.     In addition, due to the location of the Debtors’ businesses, co-counsel, creditors,

and other parties in interest in relation to K&E’s offices, frequent multi-party telephone

conferences involving numerous parties were required. On many occasions, the exigencies and

circumstances of these chapter 11 cases required overnight delivery of documents and other

materials. The disbursements for such services are not included in K&E’s overhead for the purpose

of setting billing rates and K&E has made every effort to minimize its disbursements in these

chapter 11 cases. The actual expenses incurred in providing professional services were necessary,

reasonable, and justified under the circumstances to serve the needs of the Debtors in these

chapter 11 cases.


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       70.     Among other things, K&E makes sure that all overtime meals, travel meals, hotel

rates, and airfares are reasonable and appropriate expenses for which to seek reimbursement.

Specifically, K&E regularly reviews its bills to ensure that the Debtors are only billed for services

that were actual and necessary and, where appropriate, prorates expenses. In that regard, K&E

will waive certain fees and reduce its expenses if necessary. In the Fee Period, K&E voluntarily

reduced its fees by $251,043.00 and expenses by $44,654.62. Consequently, K&E does not seek

payment of such fees or reimbursement of such expenses in the Fee Application.

         K&E’s Requested Compensation and Reimbursement Should be Allowed

       71.     Section 331 of the Bankruptcy Code provides for interim compensation of

professionals and incorporates the substantive standards of section 330 of the Bankruptcy Code to

govern the Court’s award of such compensation. Section 330 of the Bankruptcy Code provides

that a court may award a professional employed under section 327 of the Bankruptcy Code

“reasonable compensation for actual necessary services rendered . . . and reimbursement for actual,

necessary expenses.” 11 U.S.C. § 330(a)(1). Section 330 also sets forth the criteria for the award

of such compensation and reimbursement:

               In determining the amount of reasonable compensation to be awarded, the
               court should consider the nature, extent, and the value of such services,
               taking into account all relevant factors, including—

                       (a)     the time spent on such services;
                       (b)     the rates charged for such services;
                       (c)     whether the services were necessary to the
                               administration of, or beneficial at the time at which
                               the service was rendered toward the completion of,
                               a case under this title;
                       (d)     whether the services were performed within a
                               reasonable amount of time commensurate with the
                               complexity, importance, and nature of the problem,
                               issue, or task addressed; and




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                         (e)    whether the compensation is reasonable based on
                                the customary compensation charged by
                                comparably skilled practitioners in cases other than
                                cases under this title.
11 U.S.C. § 330(a)(3).

        72.     K&E respectfully submits that the services for which it seeks compensation in this

Fee Application were, at the time rendered, necessary for and beneficial to the Debtors and their

estates and were rendered to protect and preserve the Debtors’ estates. K&E further believes that

it performed the services for the Debtors economically, effectively, and efficiently, and the results

obtained benefited not only the Debtors, but also the Debtors’ estates and the Debtors’ constituents.

K&E further submits that the compensation requested herein is reasonable in light of the nature,

extent, and value of such services to the Debtors, their estates, and all parties in interest.

        73.     During the course of these chapter 11 cases, K&E’s hourly billing rates for

attorneys ranged from $555.00 to $1,525.00. The hourly rates and corresponding rate structure

utilized by K&E in these chapter 11 cases are equivalent to the hourly rates and corresponding rate

structure used by K&E for restructuring, workout, bankruptcy, insolvency, and comparable

matters, and similar complex corporate, securities, and litigation matters, whether in court or

otherwise, regardless of whether a fee application is required. K&E strives to be efficient in the

staffing of matters. These rates and the rate structure reflect that such matters are typically national

in scope and involve great complexity, high stakes, and severe time pressures—all of which were

present in these chapter 11 cases.

        74.     Moreover, K&E’s hourly rates are set at a level designed to compensate K&E fairly

for the work of its attorneys and paraprofessionals and to cover certain fixed and routine overhead

expenses. Hourly rates vary with the experience and seniority of the individuals assigned. These




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hourly rates are subject to periodic adjustments to reflect economic and other conditions and are

consistent with the rates charged elsewhere.

       75.     In sum, K&E respectfully submits that the professional services provided by K&E

on behalf of the Debtors and their estates during these chapter 11 cases were necessary and

appropriate given the complexity of these chapter 11 cases, the time expended by K&E, the nature

and extent of K&E’s services provided, the value of K&E’s services, and the cost of comparable

services outside of bankruptcy, all of which are relevant factors set forth in section 330 of the

Bankruptcy Code. Accordingly, K&E respectfully submits that approval of the compensation

sought herein is warranted and should be approved.

       76.     No previous application for the relief sought herein has been made to this or any

other Court.

                               Reservation of Rights and Notice

       77.     It is possible that some professional time expended or expenses incurred during the

Fee Period are not reflected in the Fee Application. K&E reserves the right to include such

amounts in future fee applications or a supplement to the Fee Application. In addition, the Debtors

have provided notice of this Fee Application to: (a) the U.S. Trustee; (b) the holders of the 50

largest unsecured claims against the Debtors (on a consolidated basis); (c) Wilmington Trust

Company, as indenture trustee for the GenOn Energy, Inc. 7.875% Senior Notes due 2017, 9.50%

Senior Notes due 2018, and 9.875% Senior Notes due 2020, (collectively, the “GenOn Notes”),

and counsel thereto; (d) Wilmington Savings Fund Society, FSB, as successor indenture trustee

for the GenOn Americas Generation, LLC 8.50% Senior Notes due 2021 and 9.125% Senior Notes

due 2031, (collectively, the “GAG Notes”), and counsel thereto; (e) NRG Energy, Inc., as

administrative agent under the Debtors’ secured prepetition revolving facility due 2018 (the

“Revolver”), and counsel thereto; (f ) U.S. Bank National Association, as collateral trustee under


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the Revolver; (g) Davis Polk & Wardwell LLP, as counsel to an ad hoc committee of GenOn Notes

and GAG Notes; (h) Quinn Emanuel Urquhart & Sullivan, LLP, as counsel to an ad hoc steering

committee of GAG Notes; (i) the United States Attorney’s Office for the Southern District of

Texas; (j) the Internal Revenue Service; (k) the United States Securities and Exchange

Commission; (l) the Environmental Protection Agency and similar state environmental agencies

for states in which the Debtors conduct business; (m) the state attorneys general for states in which

the Debtors conduct business; and (n) any party that has requested notice pursuant to Bankruptcy

Rule 2002. (collectively, the “Notice Parties”). Pursuant to the Interim Compensation Order, any

party, other than the Notice Parties, that wishes to object to the Fee Application, must file its

objection with the Court, with a copy to Chambers and serve it on the affected professional and

the Notice Parties so that it is actually received within 21 days of service of this Fee Application.


                                           No Prior Request

       78.     No prior application for the relief requested herein has been made to this or any

other court.




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       WHEREFORE, K&E respectfully requests that the Court enter an order, substantially in

the form attached hereto as Exhibit K, (a) awarding K&E interim compensation for professional

and paraprofessional services provided during the Fee Period in the amount of $9,586,069.50, and

reimbursement of actual, reasonable and necessary expenses incurred in the Fee Period in the

amount of $282,523.13; (b) authorizing and directing the Debtors to remit payment to K&E for

such fees and expenses; and (c) granting such other relief as is appropriate under the circumstances.

 Dated: January 5, 2018            /s/ David R. Seligman, P.C.
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